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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                 Western District
                                             __________  District of __________
                                                                     Texas


         Julia Hubbard and Kayla Goedinghaus                   )
                             Plaintiff                         )
                                v.                             )      Case No.     5:23-cv-00580-FB-EC
            Michael Scott Woods, M.D., et al.                  )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendant Michael Scott Woods, M.D.                                                                          .


Date:          06/02/2023
                                                                                          Attorney’s signature


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